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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

 DOROTHY NAIRNE , et al                                         CIVIL ACTION

 Versus
                                                               22-178-SDD-SDJ
 R. KYLE ARDOIN, in his capacity
 as Secretary of State of Louisiana


                                   Notice of Change in Firm

Please take notice that I have relocated my practice from the American Civil Liberties Union
(ACLU), Voting Rights Project to Election Law Clinic at Harvard Law School. My new address
and contact information are below and have been updated on the Court’s Electronic Filing
System (PACER/ECF):
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                                   ELECTION LAW CLINIC
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Representation of the Nairne Plaintiffs otherwise remains unchanged. I will continue to represent
Nairne Plaintiffs in this matter, as will other counsel from the ACLU and co-counsel from the
Legal Defense Fund and Cozen O’Conner.


                                                                         Respectfully submitted,
                                                                   s/ T. Alora Thomas-Lundborg
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